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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        April 17, 2023
          In the United States District Court                        Nathan Ochsner, Clerk


           for the Southern District of Texas
                          GALVESTON DIVISION
                               ═══════════
                               No. 3:22-cv-81
                               ═══════════

                        KINDI SHEPARD, PLAINTIFF,

                                      v.

   DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR THE
 REGISTERED HOLDERS OF MORGAN STANLEY ABS CAPITAL I INC., TRUST
2007-NC4 MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2007-NC4,
                         DEFENDANT.
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               MEMORANDUM OPINION AND ORDER
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JEFFREY VINCENT BROWN, UNITED STATES DISTRICT JUDGE:

      Before the court is Deutsche Bank National Trust Company’s motion

for summary judgment. Dkt. 13. The court grants the motion.

      Background
      This case arises out of a mortgage dispute. In 2006, Kindi Shepard

signed an adjustable-rate-balloon note with an original principal amount of

$215,842.00. Dkt. 14-2 at 2. She agreed to make monthly payments on the

note of $1,576.25. Id. at 3. Along with her husband, Ronnie Shepard, she

signed a deed of trust in favor of the lender, Network Funding, L.P., securing


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payment of the note. Dkt. 14-3. The deed encumbered a description of real

property in Rosharon. Id. at 4. Deutsche Bank became the owner and holder

of the note and deed of trust. Dkts. 13 at 3; 14-5 at 2. Ocwen Loan Servicing,

LLC, serviced the loan until 2019, when Ocwen merged with PHH Mortgage

Corporation. Id. PHH serviced the loan after the merger. Id.

      According to Deutsche Bank, Shepard “regularly and routinely failed

to make timely payments pursuant to the terms of the Loan.” Id. Deutsche

Bank foreclosed on Shepard in 2012, but ultimately rescinded and signed a

loan-modification agreement. Dkts. 13 at 3–4; 14-5. A second loan-

modification agreement followed in 2016 after more missed payments. Dkts.

13 at 4; 14-6. Still, Deutsche Bank alleges, Shepard continued to fail to make

required monthly payments. Dkt. 13 at 4. Consequently, Ocwen sent Shepard

a notice of default by certified mail dated March 30, 2018, demanding

payment of $9,373.35 on or before May 6, 2018. Dkt. 14-7. The notice warned

Shepard that it would accelerate and foreclose on the property if she did not

make the payment. Id. Deutsche Bank presents evidence that Shepard failed

to do so. Dkt. 14-1 at 4.

      Ocwen sent Shepard a final notice of default by certified mail dated

April 5, 2019, demanding payment of $37,295.66 on or before May 12, 2019,

to cure the default. Dkts. 13 at 5; 14-8. This notice also warned of future

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acceleration and foreclosure. Id. Shepard failed to make the necessary

payment but did apply for additional mortgage assistance. Dkts. 13 at 5; 14-

1 at 4. PHH entered Shepard into a trial-period plan requiring her to make a

series of timely payments from December 2019 to February 2020. Dkts. 13

at 5; 14-1 at 4; 14-9. Shepard did not make the first required payment and

applied for another loan modification. Dkts. 13 at 5; 14-1 at 4; 14-10. Ocwen

denied the application and prepared to foreclose, sending by certified mail a

notice of acceleration and a notice of sale. Dkts. 13 at 5–6; 14-10; 14-11.

       On March 3, 2020, Deutsche Bank purchased the property at the

noticed foreclosure sale. Dkts. 13 at 6; 14-12. Shepard filed an original

petition in the 149th District Court that same day, seeking a temporary

restraining order to prevent the sale. Dkt. 1-1 at 7. She also sought damages

based on numerous causes of action: breach of contract, violations of the

Texas Debt Collection Act (TDCA), violations of the Texas Deceptive Trade

Practices Act (DTPA), violations of the Real Estate Settlement Procedures

Act (RESPA), breach of the common-law tort of unreasonable collection

efforts, promissory estoppel, negligent misrepresentation/gross negligence,

breach of the duty of cooperation, breach of fiduciary duty, breach of the duty

of good faith and fair dealing, and intentional infliction of emotional distress.

Id.

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      Shepard’s petition instructed that service should be effectuated on a

Deutsche Bank agent in New York. Dkt. 1-1 at 7. The Brazoria County District

Clerk attempted to complete service on Deutsche Bank by sending certified

mail to “Deutsche Bank c/o Corporate Officer” at the New York address

provided by Shepard. Dkt. 1-1 at 121. When Deutsche Bank failed to respond

to her suit, Shepard filed a motion for default judgment that the district court

granted on June 2. 1 Id. at 126. Deutsche Bank appealed, and on April 22,

2021, Texas’ Twelfth Court of Appeals reversed on the grounds that Shepard

failed to properly effectuate service. 2 Id. at 170. Despite Shepard’s ongoing

failure to effectively serve process, Deutsche Bank filed an answer on March

10, 2022, “because the open case may have impacted Deutsche Bank’s ability

to market the Property.” Dkt. 13 at 6. On the same day, Deutsche Bank

removed to this court. Dkt. 1. On January 13, 2023, Deutsche Bank filed a

motion for summary judgment. Dkt. 13. Shepard timely responded. Dkt. 15.




      1 Deutsche Bank became aware of this suit after a Dallas County constable

attempted to levy a writ of execution at the offices of Deutsche Bank Securities, Inc.
Dkt. 1-1 at 171.
      2 The court noted that Shepard failed to follow the necessary statutory
procedures for serving citation on a financial institution. Dkt. 1-1 at 173–74. The
court also noted that Deutsche Bank’s corporate office is in California, not New
York. Id. at 173.

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      Legal Standards
      Summary judgment is proper when “there is no genuine dispute as to

any material fact and the movant is entitled to a judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The court must view the evidence in the light most

favorable to the nonmovant. Coleman v. Hous. Indep. Sch. Dist., 113 F.3d

528, 533 (5th Cir. 1997). For each cause of action moved on, the movant must

set forth those elements for which it contends no genuine dispute of material

fact exists. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden

then shifts to the nonmovant to offer specific facts showing a genuine dispute

for trial. See Fed. R. Civ. P. 56(c); Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586–87 (1986). “A dispute about a material fact is

‘genuine’ if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Bodenheimer v. PPG Indus., Inc., 5 F.3d 955, 956

(5th Cir. 1993) (citation omitted).

      The court “may not make credibility determinations or weigh the

evidence” in ruling on a summary-judgment motion. Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). But when the nonmoving

party has failed “to address or respond to a fact raised by the moving party

and supported by evidence,” then the fact is undisputed. Broad. Music, Inc.

v. Bentley, No. SA-16-CV-394-XR, 2017 WL 782932, at *2 (W.D. Tex. Feb.


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28, 2017). “Such undisputed facts may form the basis for summary

judgment.” Id.

      Analysis
      A. Statute of Limitations
      Deutsche Bank has moved for summary judgment on Shepard’s TDCA,

DTPA,    unreasonable-collections,     negligence,    gross-negligence,     and

intentional-infliction-of-emotional-distress   claims,   arguing    that    the

applicable two-year statute of limitations bars these claims because Shepard

failed to serve Deutsche Bank with process. Dkt. 13 at 9.

      “When a plaintiff files a petition within the limitations period but does

not serve the defendant until after the period expires, the filing of a lawsuit

alone does not interrupt the running of limitations.” Seagraves v. City of

McKinney, 45 S.W.3d 779, 782 (Tex. App.—Dallas 2001, no pet.) (citing

Murray v. San Jacinto Agency, Inc., 800 S.W.2d 826, 830 (Tex. 1990)). The

plaintiff must exercise due diligence in issuance and service of citation.

Murray, 800 S.W.2d at 830. “Once a defendant has affirmatively [pleaded]

the limitations defense and shown that service was effected after limitations

expired, the burden shifts to the plaintiff ‘to explain the delay.’” Proulx v.

Wells, 235 S.W.3d 213, 216 (Tex. 2007) (quoting Murray, 800 S.W.2d at

830). “Thus, it is the plaintiff's burden to present evidence regarding the


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efforts that were made to serve the defendant.” Id. And while the plaintiff’s

exercise of due diligence in obtaining the issuance and service of citation “is

usually a fact issue,” a “lack of diligence will be found as a matter of law”

where “no excuse is offered for a delay in procuring service of citation, or if

the lapse of time and the plaintiff's acts are such as conclusively negate

diligence.” Mauricio v. Castro, 287 S.W.3d 476, 479 (Tex. App.—Dallas

2009, no pet.).

      Deutsche Bank pleaded the limitations defense in its answer. 3 Dkt. 1-1

at 182. In its motion for summary judgment, it argues that a two-year statute-

of-limitations applies to Shepard’s TDCA, DTPA, unreasonable-collections,

negligence,    gross-negligence,     and     intentional-infliction-of-emotional-

distress claims. See Dkt. 13 at 9 n.39–43. Deutsche Bank argues that, at the

latest, these claims accrued on March 3, 2020. Id. at 9. And since Shepard

has never served Deutsche Bank, it argues the limitations period has run. Id.

Accordingly, the burden shifts to Shepard “to explain the delay.” Proulx, 235

S.W.3d at 216. But Shepard’s response to the motion for summary judgment



      3 The court acknowledges that “the filing of an answer dispenses with the

necessity of service of citation.” Burrow v. Arce, 997 S.W.2d 229, 246 (Tex. 1999).
“Yet, filing an answer does not waive defects in service when those defects are being
alluded to in effort to show that the applicable limitations period expired.”
Ramirez v. Consol. HGM Corp., 124 S.W.3d 914, 917 (Tex. App.—Amarillo 2004,
no pet.).

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ignores Deutsche Bank’s statute-of-limitations argument and provides no

explanation for its failure to effect service. See Dkt. 15. Accordingly, the court

finds that the limitations period has run on the DTPA, unreasonable-

collections, negligence, gross-negligence, and intentional-infliction-of-

emotional-distress claims, entitling Deutsche Bank to summary judgment. 4

Nevertheless, the court declines to grant summary judgment on the TDCA

claim on limitations grounds. 5

      B. Breach-of-Contract Claim
      Deutsche Bank has moved for summary judgment on Shepard’s

breach-of-contract claim. Dkt. 13 at 10. Under Texas law, a breach-of-

contract claim requires a party to establish the following elements: “(1) a

valid contract existed between the plaintiff and the defendant; (2) the

plaintiff tendered performance or was excused from doing so; (3) the

defendant breached the terms of the contract; and (4) the plaintiff sustained


      4 The court agrees that a two-year limitations period applies to these claims.

See Tex. Bus. & Com. Code § 17.565; Tex. Civ. Prac. & Rem. Code § 16.003; Duzich
v. Marine Office of America Corp., 980 S.W.2d 857, 872 (Tex. App.—Corpus
Christi–Edinburg 1998, pet. denied).
      5 Courts appear to disagree on whether a two-year or four-year limitations

period attaches to TDCA claims. Compare Nationstar Mortg. LLC v. Barefoot, 654
S.W.3d 440, 447–48 (Tex. App.—Houston [14th Dist.] 2021, no pet.), with
Williams v. PHH Mortg. Corp., 604 F. Supp. 3d 552, 554–56 (S.D. Tex. 2022).
Because the TDCA claim fails independently of Deutsche Bank’s limitations
argument, the court declines to grant summary judgment on those grounds.

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damages as a result of the defendant’s breach.” Atrium Med. Ctr., LP v.

Houston Red C LLC, 546 S.W.3d 305, 311 (Tex. App.—Houston [14th Dist.]

2017), aff’d, 595 S.W.3d 188 (Tex. 2020).

      Deutsche Bank argues it satisfied the deed of trust’s requirements

related to providing notices of default and sale before foreclosure and that

“there is simply no evidence that Deutsche Bank breached the terms of the

Note or Deed of Trust.” Dkt. 13 at 10–11. Deutsche Bank points to the notices

of default sent to Shepard, which hewed to the requirements contained in the

deed of trust. Id. The notices explained that she had defaulted, provided the

payment amount required to cure the default, offered her more than thirty

days to cure the default, and explain that default could result in acceleration.

Dkts. 13 at 11; 14-1 at 3–4; 14-7; 14-8. Deutsche Bank also provides evidence

it acted in accordance with Texas law—as required by the deed of trust—by

mailing a notice of sale to Shepard by certified mail at least 21 days before

the sale. Dkts. 13 at 11; 14-1 at 4; 14-11.

      In response, Shepard fails to produce any evidence indicating that

Deutsche Bank breached the contract. Instead, Shepard merely cites cases

supporting her observations that “a mortgage lender may have post-default

contract obligations that create a cause of action despite the borrower’s

default” and that default does not fully excuse the performance of the non-

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defaulting party. Dkt. 15 at 2–3. She argues she may “maintain her breach[-

]of[-]contract action even if [she] defaulted.” Id. at 3. While these statements

may be true, they fall short of Shepard’s obligation “in response to [a]

motion[] for summary judgment . . . to present evidence—not just conjecture

and speculation.” Little v. Liquid Air Corp., 37 F.3d 1069, 1079 (5th Cir.

1994). Shepard does not present any evidence creating a genuine issue of

material fact as to any element of the breach-of-contract claim. Accordingly,

Deutsche Bank is entitled to summary judgment.

       C. TDCA Claims
       The TDCA prohibits a debt collector from threatening to sell a property

at a foreclosure sale in violation of state law; using a fraudulent, deceptive,

or misleading representation regarding the character, extent, or amount of a

consumer debt; misrepresenting the status or nature of the services rendered

by the debt collector; or using other false representations or deceptive means

to collect a debt. Tex. Fin. Code. §§ 392.301–304. Shepard claims that

Deutsche Bank violated the TDCA by seeking to sell the property at a

foreclosure sale without giving proper notice and making misleading

representations regarding the servicing and collection of her debt. Dkt. 1-1 at

9.

       Deutsche Bank argues it is entitled to summary judgment because the


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evidence demonstrates it provided the necessary pre-foreclosure notices to

Shepard and that it had the right to threaten foreclosure after Shepard

defaulted on her mortgage. Dkts. 13 at 11–12; 14-1 at 4; 14-7; 14-8; 14-9; 14-

11. Deutsche Bank also says that Shepard has identified no misleading or

false representations it made during the foreclosure process. Dkt. 13 at 12–

13.

        Shepard responds that she “bases her TDCA claim on [Deutsche Bank]

foreclosing in committing fraud,” and that “Texas state law is sufficient to

state a claim under the TDCA.” Dkt. 15 at 3. But in response to a properly

supported motion for summary judgment, more is required of the plaintiff

than simply stating a claim. See Forsyth v. Barr, 19 F.3d 1527, 1536–37 (5th

Cir. 1994) (“When the movant has made a properly supported motion for

summary judgment by demonstrating an absence of evidence to support the

non-movants’ case . . . the non-movants must go beyond the pleadings

and . . . designate specific facts showing that there is a genuine issue for

trial.”) (internal quotation marks omitted). Shepard does not cite any

evidence that Deutsche Bank made improper threats, misrepresentations, or

false statements; wrongfully foreclosed; or that it engaged in fraud.

Accordingly, Deutsche Bank is entitled to summary judgment on the TDCA

claim.

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      D. Unreasonable Collection Efforts
      Deutsche Bank has moved for summary judgment on Shepard’s

common-law claim for unreasonable collection efforts. Dkt. 13 at 14–15. For

the reasons explained previously, the court finds that Shepard’s failure to

properly serve Deutsche Bank means the statute of limitations has run on

this claim. But even if the limitations period had not run, Deutsche Bank

would remain entitled to summary judgment.

      The elements of the common-law tort of unreasonable collection

efforts “are not clearly defined[,] and the conduct deemed to constitute an

unreasonable collection effort varies from case to case.” EMC Mortg. Corp.

v. Jones, 252 S.W.3d 857, 868 (Tex. App.—Dallas 2008, no pet.).

Nevertheless, “actionable conduct under this tort has generally been

described as a course of harassment that was willful, wanton, malicious, and

intended to inflict mental anguish and bodily harm.” Lease Acceptance Corp.

v. Hernandez, No. 13-18-00598-CV, 2020 WL 1181248, at *4 (Tex. App.—

Corpus Christi–Edinburg March 12, 2020, no pet.) (internal quotation

marks omitted). Shepard claims that Deutsche Bank’s “course of conduct” in

collecting her mortgage debt constituted an unreasonable collection effort

because it did not allow her to cure the default and intentionally misled her.

Dkt. 1-1 at 11. She also claims Deutsche Bank continued to assess late charges


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and penalties on her account before the improper foreclosure and used

deceptive means to collect a debt. Id. As a result, Shepard says she incurred

“extreme and severe mental anguish and emotional distress resulting in loss

of income and mental suffering.” Id.

      Deutsche Bank argues it is entitled to summary judgment against this

claim because Shepard produces no evidence it committed any wrongful

collection act. Dkt. 13 at 14–15. It also points to the note’s description of late

charges in the event of default. Dkts. 13 at 15; 14-2. Shepard does not appear

to respond to the arguments and evidence marshaled by Deutsche Bank.

Shepard also does not present any evidence of “a course of harassment that

was willful, wanton, malicious, and intended to inflict mental anguish and

bodily harm.” See Lease Acceptance Corp., 2020 WL 1181248 at *4.

Therefore, Deutsche Bank is entitled to summary judgment on Shepard’s

claim for unreasonable collection efforts even if the limitations period had

not run.

      E. RESPA Claim
      Shepard argues that Deutsche Bank, in violation of RESPA and its

implementing regulations, (1) committed “dual tracking” by pursuing

foreclosure while simultaneously extending loss-mitigation options; (2)

failed to properly review the plaintiff’s loan-modification application; (3)


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failed to provide written notices concerning the denial of a loss-mitigation

application; and (4) failed to appoint a single point of contact for Shepard to

obtain information about loss mitigation, modification, and foreclosure. See

Dkt. 1-1 at 12–20; 12 C.F.R. § 1024.41 et seq.

      Deutsche Bank argues that Shepard’s claims fail as a matter of law

because a loan servicer is required to comply with the applicable RESPA

regulations for only the borrower’s first complete loss-mitigation

application. Dkt. 13 at 16; 12 C.F.R. § 1024.41(i). It presents evidence that

Shepard received two previous loan modifications. Dkts. 14-5; 14-6. In

response, Shepard restates RESPA’s regulatory provisions and says that

Deutsche Bank’s “only contention is that RESPA only applies to loan

servicers and, therefore, no claim or cause of action can be asserted against

[Deutsche Bank].” Dkt. 15 at 5. Shepard argues that Deutsche Bank can be

held liable for the acts of its mortgage servicer, PHH. Id.

      The applicable regulation provides:

      A servicer must comply with the requirements of this section for
      a borrower’s loss mitigation application, unless the servicer has
      previously complied with the requirements of this section for a
      complete loss mitigation application submitted by the borrower
      and the borrower has been delinquent at all times since
      submitting the prior complete application.

12 C.F.R. § 1024.41(i).

      Deutsche Bank presents uncontradicted evidence that Shepard
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submitted previous loss-mitigation applications, and that she continued in

delinquency after submitting those applications. Dkts. 14-1 at 3–4; 14-5; 14-

6; 14-7; 14-8; 14-9. In response, Shepard presents no evidence that her loan

ever became non-delinquent, or of any other facts that might support her

RESPA claim. Instead, she merely discusses the content of several RESPA

regulations—without connecting them to her own case—and responds to an

argument about vicarious liability that Deutsche Bank never made. Dkt. 15

at 4–5. This cannot create a genuine issue of material fact sufficient to

survive a motion for summary judgment. Deutsche Bank’s motion is granted

as to the RESPA claim. See Reyes v. Plainscapital Bank, No. 7:20-cv-00015,

2020 WL 6551164, at *5 (S.D. Tex. Nov. 6, 2020); Butler v. Colonial Savings,

F.A., No. 4:18-CV-2491, 2019 WL 3842771, at *4 (S.D. Tex. Aug. 15, 2019)

(both granting summary judgment on a RESPA claim under similar

circumstances).

     F. Promissory Estoppel
     Under Texas law, “the requisites of promissory estoppel are: (1) a

promise, (2) foreseeability of reliance thereon by the promisor, and (3)

substantial reliance by the promisee to his detriment.” English v. Fischer,

660 S.W.2d 521, 524 (Tex. 1983). Additionally, “promissory estoppel

requires that the agreement that is the subject of the promise must comply


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with the statute of frauds. That is, the agreement must be in writing at the

time of the oral promise to sign it.” Sullivan v. Leor Energy, LLC, 600 F.3d

542, 549 (5th Cir. 2010). And “a loan agreement in which the amount

involved in the loan agreement exceeds $50,000 in value is not enforceable

unless the agreement is in writing and signed by the party to be bound or by

that party’s authorized representative.” Tex. Bus. & Com. Code § 26.02.

Shepard claims that Deutsche Bank promised her it would accept a loan

modification “beyond the initial[ly] allotted time.” Dkt. 1-1 at 20.

      Deutsche Bank argues it is entitled to summary judgment because

Shepard has not produced any written agreement related to her mortgage

that Deutsche Bank promised to sign, violating the statute of frauds. Dkt. 13

at 17. Deutsche Bank also argues that Shepard has failed to introduce

evidence establishing any other elements of a promissory-estoppel claim and

that promissory estoppel is unavailable when an express contract covers the

subject matter of the dispute. Id. at 17–18. In response, Shepard argues that

the statute of frauds is irrelevant, “since the topic is a separate stand-alone

agreement for which there was a meeting of the minds and consideration was

given” and that she “has pled the required elements for promissory estoppel.”

Dkt. 15 at 6.

      Again, in response to a properly supported motion for summary

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judgment, a plaintiff must do more than simply plead the required elements

of a claim. Forsyth, 19 F.3d at 1536–37. Shepard does not direct the court to

any evidence supporting her promissory-estoppel claim, including any

evidence that Deutsche Bank ever made a promise to accept a new loan

modification. Moreover, the court agrees with Deutsche Bank that Shepard’s

claim is barred as a matter of law by the statute of frauds because Shepard

has produced no evidence that Deutsche Bank promised to sign a written

loan-modification agreement. See Stolts v. Wells Fargo Bank, NA, 31 F.

Supp. 3d 876, 881 n.4 (S.D. Tex. 2014). Accordingly, Deutsche Bank is

entitled to summary judgment.

      G. Negligent-Misrepresentation/Gross-Negligence Claim

      Deutsche Bank has moved for summary judgment on Shepard’s

negligent-misrepresentation and gross-negligence claims. Dkt. 13 at 18–19.

For the reasons explained previously, the court finds that Shepard’s failure

to properly serve Deutsche Bank means the statute of limitations has run on

these claims. However, even if the limitations period had not run, Deutsche

Bank would remain entitled to summary judgment.

      Under Texas law, a negligent-misrepresentation cause of action has

four elements: “(1) the representation is made by a defendant in the course

of his business, or in a transaction in which he has a pecuniary interest; (2)


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the defendant supplies ‘false information’ for the guidance of others in their

business; (3) the defendant did not exercise reasonable care or competence

in obtaining or communicating the information; and (4) the plaintiff suffers

pecuniary loss by justifiably relying on the representation.” Henry Schein,

Inc. v. Stromboe, 102 S.W.3d 675, 686 n.24 (Tex. 2002). Shepard claims that

Deutsche Bank’s communications about the status of her mortgage loan

constituted a negligent misrepresentation. Dkt. 1-1 at 20–21.

      Deutsche Bank argues it is entitled to summary judgment because the

only alleged misrepresentation Shepard identifies is Deutsche Bank’s

promise “to accept a loan modification beyond the initial[ly] allotted time.”

Dkt. 13 at 19. But promises related to future conduct as opposed to

misstatements      of   existing   fact   are   not   actionable   as   negligent

misrepresentations. Id. Deutsche Bank also notes that Shepard only alleges

economic loss arising from her contract, preventing her from seeking relief

on a negligence theory sounding in tort. Id. at 20. In response, Shepard

argues that her pleadings demonstrate that Deutsche Bank reneged on an

offer related to a loan-modification review and an appeal. Dkt. 15 at 6–7. She

also claims that

     “the facts further show that [Deutsche Bank] never intended to
     fulfill those promises as is reflected by [its] failure to apologize
     (fraud) or [it] was negligent in offering the loan modification
     review in the first place since, when it came time for [it] to
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        perform, [it] lacked the resources to accomplish the task.
Id.

        Shepard has produced no evidence creating a genuine issue of material

fact as to her negligent-misrepresentation claim. To the extent she argues

that Deutsche Bank’s alleged statements about some future loan-

modification-and-appeal        agreement      amounted      to    a    negligent

misrepresentation, those claims are barred as a matter of law because they

relate to future conduct. See Stolts, 31 F. Supp. 3d at 882 n.5. Shepard’s

complaint also speaks of a “failure to use reasonable care in communicating

the correct status of [Shepard’s] mortgage loan.” Dkt. 1-1 at 21. It’s unclear if

this refers to a different statement allegedly made by Deutsche Bank, and

Shepard does not clarify in response to Deutsche Bank’s motion for summary

judgment. 6 Still, Shepard presents no evidence of this statement, or of any

other facts that could support a negligent-misrepresentation claim. And

without evidence supporting a negligence theory, Shepard’s gross-negligence

claim must also fail. See Shell Oil Co. v. Humphrey, 880 S.W.2d 170, 174

(Tex. App.—Houston [14th Dist.] 1994, writ denied) (“A finding of ordinary



        6 Deutsche Bank’s motion argues that “the only alleged misrepresentation

Plaintiff includes in her Complaint is her allegation that Deutsche Bank promised
‘to accept a loan modification beyond the initial allotted time.’” Dkt. 13 at 19.
Shepard does not dispute this characterization in her response.

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negligence is prerequisite to a finding of gross negligence.”). Consequently,

Deutsche Bank is entitled to summary judgment on the negligent-

misrepresentation and gross-negligence claims.

        H. Breach of Duty of Cooperation
        “The duty to cooperate is a ‘promise that a party will not do anything

to prevent or delay the other party from performing the contract.’” Dick v.

Colo. Hous. Enters, L.L.C., 780 F. App’x 121, 124 (5th Cir. 2019) (per curiam)

(quoting Tex. Nat’l Bank v. Sandia Mortg. Corp., 872 F.2d 692, 698 (5th Cir.

1989)). Shepard claims that Deutsche Bank violated this duty by misleading

her with false representations about her loan and failing to give her complete

information. Dkt. 1-1 at 22.

        Deutsche Bank argues it is entitled to summary judgment because

Shepard never specifies what information it supposedly withheld from her.

Dkt. 13 at 20–21. Accordingly, Deutsche Bank maintains, it did not violate

any duty of cooperation. Id. In response, Shepard argues that “based on the

relevant facts as set forth in Plaintiff’s Original Petition,” Deutsche Bank

violated the duty of cooperation by failing to provide her with “the accurate

information needed to properly perform the obligations of the Loan.” Dkt. 15

at 7.

        In response to a properly supported motion for summary judgment,


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Shepard must do more than simply point to the facts she pleaded in her

petition. See Johnston v. City of Houston, 14 F.3d 1056, 1060 (5th Cir. 1994).

She must produce evidence creating a genuine issue of material fact that

Deutsche Bank owed and violated a duty of cooperation. Id. As Shepard has

produced no such evidence and relied only on her complaint, Deutsche Bank

is entitled to summary judgment.

      I. Breach of Fiduciary Duty
      “To recover on a breach of fiduciary duty claim, a plaintiff must prove

that (1) a fiduciary relationship existed between the plaintiff and the

defendant, (2) the defendant breached his or her fiduciary duty to the

plaintiff, and (3) the defendant’s breach resulted in an injury to the plaintiff

or a benefit to the defendant.” Adam v. Marcos, 620 S.W.3d 488, 507 (Tex.

App.—Houston [14th Dist.] 2021, pet. denied). Shepard claims that a

fiduciary relationship existed with Deutsche Bank under the loan documents

requiring the lender to act in the borrower’s best interest and that it breached

that duty when it refused to account for funds received from Shepard at her

request. Dkt. 1-1 at 22.

      Deutsche Bank argues that, as a matter of law, the relationship between

a mortgagor or a loan servicer and a mortgagee is not a fiduciary one. Dkt. 13

at 21. Accordingly, Shepard’s claim must fail. Id. Additionally, Deutsche


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Bank contends that Shepard has produced no evidence “that Deutsche Bank

failed to account for any specific funds tendered by” her. Id. at 22. In

response, Shepard argues that because “lenders receive funds from their

borrowers on a regular basis” and “are required to properly allocate and

account for those funds,” they owe borrowers a fiduciary duty. Dkt. 15 at 7.

She also relies on the facts pleaded in her complaint. Id.

      The court agrees that the breach-of-fiduciary-duty claim fails as a

matter of law. In Texas, there is generally no fiduciary duty owed between

mortgagors and mortgagees. Jordan v. U.S. Bank Home Mortg., 820 F.

App’x 314, 315 (5th Cir. 2020) (per curiam). Moreover, Shepard presents no

evidence of Deutsche Bank’s conduct that would constitute a breach. So

Deutsche Bank is entitled to summary judgment.

      J. Breach of Duty of Good Faith and Fair Dealing
      Deutsche Bank has moved for summary judgment on Shepard’s claim

for breach of the duty of good faith and fair dealing. Dkt. 13 at 22. “The duty

of good faith and fair dealing merely requires the parties to ‘deal fairly’ with

one another and does not require the high standard of trust present in a

fiduciary relationship.” Herrin v. Med. Protective Co., 89 S.W.3d 301, 308

(Tex. App.—Texarkana 2002, pet. denied). Shepard claims Deutsche Bank

breached when it promised not to foreclose until it reviewed her loan-


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modification application. Dkt. 1-1 at 23.

      Deutsche Bank argues it is entitled to summary judgment because

Texas law does not recognize a duty of good faith and fair dealing within the

mortgagor-mortgagee relationship. Dkt. 13 at 22. In response, Shepard

argues that a special relationship giving rise to such a duty exists and that “as

with all other contractual relationship[s],” the parties here had a duty to

operate in good faith and deal fairly. Dkt. 15 at 7. Shepard relies on the facts

pleaded in the complaint in arguing that Deutsche Bank breached this duty.

Id. The court agrees with Deutsche Bank that it owed no duty of good faith

and fair dealing in this context. See Watson v. Citimortgage, Inc., 814 F.

Supp. 2d 726, 731 (E.D. Tex. 2011). Consequently, Deutsche Bank is entitled

to summary judgment.

      K. DTPA Claim
      For the reasons explained previously, the court finds that Shepard’s

failure to properly serve Deutsche Bank means the statute of limitations has

run on this claim. However, even if the limitations period had not run,

Deutsche Bank would remain entitled to summary judgment.

      To prevail on a DTPA claim, a plaintiff must show “(1) the plaintiff is a

consumer; (2) the defendant engaged in false, misleading, or deceptive acts;

and (3) the deceptive acts constituted a producing cause of the consumer’s


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damage.” Gallegos v. Quintero, No. 13–16–00497–CV, 2018 WL 655539, at

*3 (Tex. App.—Corpus Christi–Edinburg Feb. 1, 2018, pet. denied) (mem.

op.). Shepard claims that Deutsche Bank committed DTPA violations by “the

same improper conduct discussed above in Plaintiff’s TDCA claims.” Dkt. 1-

1 at 10.

      Deutsche Bank argues it is entitled to summary judgment because

borrowers of money are not considered consumers within the meaning of the

DTPA. Dkt. 13 at 13. In response, Shepard points the court to the Fifth

Circuit’s opinion in McCaig v. Wells Fargo Bank (Texas), N.A. 788 F.3d 463

(5th Cir. 2015). Shepard does not otherwise respond to Deutsche Bank’s

arguments that she is not a consumer. The court finds that Deutsche Bank is

entitled to summary judgment because, as a matter of law, Shepard is not a

consumer within the meaning of the DTPA. See Gossett v. Fed. Home Loan

Mortg. Corp., 919 F. Supp. 2d 852, 861 (S.D. Tex. 2013) (“A person who seeks

only to borrow money is not a consumer under the DTPA because money is

not a good or service.”) (quoting Brown v. Bank of Galveston, Nat. Ass’n,

930 S.W.2d 140, 143 (Tex. App.—Houston [14th Dist.] 1996), aff’d, 963

S.W.2d 511 (Tex.1998)). Moreover, the McCaig case hinges on TDCA claims,

not the DTPA, and discusses how courts have applied the economic-loss rule

in both contexts. It is not relevant to the disposition of Shepard’s DTPA

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claim.

      L. Intentional Infliction of Emotional Distress
      Deutsche Bank has moved for summary judgment on Shepard’s

intentional-infliction-of-emotional-distress claim. Dkt. 13 at 23. For the

reasons explained previously, the court finds that Shepard’s failure to

properly serve Deutsche Bank means the statute of limitations has run on

this claim. However, even if the limitations period had not run, Deutsche

Bank would remain entitled to summary judgment.

      Under Texas law, the elements of an intentional-infliction-of-

emotional-distress claim are that “(1) the defendant acted intentionally or

recklessly, (2) the conduct was extreme and outrageous, (3) the actions of the

defendant caused the plaintiff emotional distress, and (4) the emotional

distress suffered by the plaintiff was severe.” Twyman v. Twyman, 855

S.W.2d 619, 621 (Tex. 1993) (numbering altered). Shepard claims she

“endured stress, anxiety, and loss of sleep as a result of” Deutsche Bank’s

misconduct. Dkt. 1-1 at 23.

      Deutsche Bank argues it is entitled to summary judgment because

Shepard has produced no evidence supporting any of the elements of the

claim. Dkt. 13 at 23. Shepard does not appear to respond to these arguments.

The court agrees that Shepard has created no genuine issue of material fact


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as to any element of her intentional-infliction-of-emotional-distress claim,

entitling Deutsche Bank to summary judgment.

                               *     *     *
     For the reasons stated above, the court grants Deutsche Bank’s motion

for summary judgment. Dkt. 13. All other pending motions are denied as

moot. The court will enter final judgment separately.

     Signed on Galveston Island this 17th day of April, 2023.


                                      __________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE




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